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                        IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

               v.
                                                           Case No. 1:21-cr-00153-RBW-1
DANIEL GOODWYN,

                       Defendant.


 DEFENDANT DANIEL GOODWYN’S MOTION TO MODIFY BOND CONDITIONS


        Mr. Goodwyn, through his attorney, Joseph D. McBride, respectfully requests that this

Honorable Court modify the March 12, 2021, ORDER SETTING CONDITIONS OF RELEASE

in his case. (See Pacer Doc. 12) Specifically, Mr. Goodwyn asks this Court to (1) remove the

condition of electronic location monitoring requirement and (2) to allow Mr. Goodwyn’s brother,

Christopher Goodwyn, to substitute as a temporary custodian from March 19, 2022 to March 23,

2022.

        Mr. Goodwyn is not a flight risk and has not been charged with a crime of violence. Mr.

Goodwyn has never missed a court appearance, nor has he ever been late to court. His reports

from pretrial services are consistently positive, and he is in full compliance with all of the

conditions of his release.

        Undersigned counsel recognizes that some COVID-19 mask-related complications arose

shortly after Mr. Goodwyn first began working with Pretrial Services. Undersigned counsel has

been on the record with your Honor regarding the fact that mask-wearing is difficult for Mr.

Goodwyn because he is on the Autism Spectrum. Fortunately, Mr. Goodwyn was able to remedy

said mask requirement some time ago, by wearing a face shield instead of a cloth face covering.



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        In that vein, we respectfully ask your Honor not to count the initial mask-wearing

complications against Mr. Goodwyn, because (1) his difficulty with the cloth face covering is

triggered by Autism— not a spirit of disobedience. (2) The issue was remedied months ago, and

is, therfore, moot.

        Undersigned counsel recently spoke to Pretrial Services Officer Donald Rogan regarding

Daniel’s status and inquired about whether Rogan would be opposing or taking no position on the

instant request. Mr. Rogan informed me that he is not taking a position on the matter and reported

that Daniel “has been fully compliant with the terms of his release and has not had any issues.”1 I

have also spoken with AUSA Susan Lehr regarding this request. AUSA Lehr has “no objection”

to the removal of Mr. Goodwyn’s electronic location monitoring device.

        Mr. Goodwyn can effectively be monitored by Pretrial Services without electronic

monitoring. This conclusion is corroborated by the fact that neither Pretrial Services nor the United

States Attorney’s Office is opposing the removal of his electronic monitoring equipment. This

statement is further corroborated by his stellar record of compliance with the conditions of his

release, and by the fact that the combination of conditions ordered, absent electronic monitoring,

are more than sufficient to assure his return to court and the safety of the community as well.

        Lastly, Mr. Goodwyn’s parents desire to take a wedding anniversary trip to see their son,

Daniel’s brother, in Nashville, TN later this month. Daniel’s mother, Marie, is his custodian. She

would be traveling on March 19th and returning home on March 23rd.                          Daniel’s brother,

Christopher, has volunteered to substitute as a temporary custodian in her absence. Neither Pretrial

Services Officer Rogan or AUSA Lehr have objected to this request.



1
  Undersigned counsel previously spoke with Pretrial Services Officer Fredrick Forman via email on May 26, 2021,
regarding this request, to which Forman stated via email that he had “… no opposition to location monitoring
condition(s) being removed… (because Goodwyn) was fully compliant…” while under Forman’s supervision.


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       Therefore, and for the reasons stated above, Mr. Goodwyn, through his attorney, Joseph D.

McBride, Esq., respectfully requests that this Honorable Court modify his conditions of release by

(1) removing the condition of electronic location monitoring, and (2) allowing his brother

Christopher Goodwyn to substitute as Daniel’s custodian during his mother Marie’s March 19th -

23rd trip to Nashville, Tennessee.




DATED: MARCH 2, 2022

                                                    Respectfully Submitted,

                                                     /s/ Joseph D. McBride, Esq.
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                                                    Joseph D. McBride, Esq.
                                                    Bar ID: NY0403
                                                    THE MCBRIDE LAW FIRM, PLLC
                                                    Attorneys for Daniel Goodwyn
                                                    99 Park Avenue, 6th Floor
                                                    New York, NY 10016
                                                    Phone: (917) 757-9537
                                                    Email: jmcbride@mcbridelawnyc.com




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